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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA
                   v.                                      Criminal No. 13-168-4 (JDB)
HONG VO,

         Defendant.



                           MEMORANDUM OPINION & ORDER

       Before the Court is [70] defendant Hong Vo’s motion for reconsideration of [68] this

Court’s Order denying pretrial release. In June 2013, Judge Royce C. Lamberth granted the

government’s motion for pretrial detention under 18 U.S.C. § 3142(f)(2)(A) and denied Ms. Vo’s

motion for pretrial release. [ECF No. 52]. Ms. Vo renewed her motion, and after a hearing, this

Court denied her renewed motion in September 2013. [ECF No. 68]. Ms. Vo now moves for

reconsideration. Upon consideration of the defendant’s motion for reconsideration, the

government’s opposition, and the entire record herein, the Court will deny the defendant’s

motion for reconsideration.

       Neither the Federal Criminal Rules nor the Local Criminal Rules of this district explicitly

provide for motions for reconsideration. Courts in this district, however, have entertained

motions for reconsideration of interlocutory decisions, and “‘the Supreme Court has recognized

. . . the utility of such motions.’” United States v. Coughlin, 821 F. Supp. 2d 8, 17 (D.D.C. 2011)

(quoting United States v. Ferguson, 574 F. Supp. 2d 111, 113 (D.D.C. 2008)). This Court thus

assumes, as other judges in this district have, that it may consider a motion for reconsideration in

a criminal case.



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       Judges in this district have applied the standard contained in Rule 59(e) of the Federal

Rules of Civil Procedure to motions for reconsideration of final orders in criminal cases. United

States v. Cabrera, 699 F. Supp. 2d 35, 40 (D.D.C. 2010); United States v. Libby, 429 F. Supp. 2d

46, 47 (D.D.C. 2006). To motions for reconsideration of interlocutory orders, however, they have

applied the “as justice requires” standard normally applied to motions under Rule 54(b) of the

Federal Rules of Civil Procedure. Coughlin, 821 F. Supp. 2d at 18; United States v. Bloch, 794

F. Supp. 2d 15, 19 (D.D.C. 2011); United States v. Sunia, 643 F. Supp. 2d 51, 61 (D.D.C. 2009).

Ms. Vo’s motion addresses an interlocutory pretrial detention order rather than a final order.

Accordingly, the parties agree that Ms. Vo’s motion should be assessed under the “as justice

requires” standard.1

       “[A]sking ‘what justice requires’ amounts to determining, within the court’s discretion,

whether reconsideration is necessary under the relevant circumstances.” Cobell v. Norton, 355 F.

Supp. 2d 531, 539 (D.D.C. 2005). Those circumstances include when a court has “‘patently

misunderstood the parties, made a decision beyond the adversarial issues presented, [or] made an

error in failing to consider controlling decisions or data, or [where] a controlling or significant

change in the law has occurred.’” Arias v. DynCorp, 856 F. Supp. 2d 46, 52 (D.D.C. 2012)

(quoting Negley v. FBI, 825 F. Supp. 2d 58, 60 (D.D.C. 2011)). But “where litigants have once

battled for the court’s decision, they should [not] be . . . permitted[] to battle for it again.” Arias,

856 F. Supp. 2d at 52 (internal quotation marks and citation omitted).




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          Courts may also reconsider prior bond determinations under § 3142(f)(2)(B) based upon
new information bearing on pretrial release; this Court previously did precisely that when
considering Ms. Vo’s renewed motion for pretrial release. [ECF No. 68]. Because the parties do
not address this standard, and because Ms. Vo does not present any new information bearing on
pretrial release, the Court will not apply this standard to Ms. Vo’s motion.

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       Ms. Vo does not contend that there has been a controlling or significant change in the

law. She argues only that she has come into possession of new exculpatory evidence that

undercuts the weight of the evidence against her. As an initial matter, to prevail on this motion

for reconsideration, Ms. Vo would have to proffer some very compelling exculpatory evidence

indeed. This Court previously found not only that the weight of the evidence against her strongly

favors detention, but also that the nature and circumstances of the offenses charged and her

history and characteristics favor detention. [ECF No. 68 at 3, 4, 7]; see § 3142(g).

       In support of her motion, Ms. Vo relies on an interview of her co-defendant, Michael

Sestak, in which Mr. Sestak stated that he never spoke with Ms. Vo regarding the visa fraud

scheme and that, to his knowledge, Ms. Vo was not involved in the scheme. But Ms. Vo

concedes that she was in possession of this information well before the September 13, 2013

hearing: the government provided it to her on August 16, 2013. Def.’s Mot. 1 n.1. Ms. Vo offers

no reason why this information was not presented to the Court at the September 13 hearing.

       What is more, this information hardly qualifies as exculpatory. “A single conspiracy may

be established when each conspirator knows of the existence of the larger conspiracy and the

necessity for other participants, even if he is ignorant of their precise identities.” United States v.

Tarantino, 846 F.2d 1384, 1392 (D.C. Cir. 1988). And “[a] single conspiracy is proven if the

evidence establishes that each conspirator had the specific intent to further the common unlawful

objective.” Id. Ms. Vo argues that a single co-defendant’s purported ignorance of her

involvement in the conspiracy is dispositive, but the government has proffered substantial

evidence that Mr. Sestak knew of “the necessity for other participants,” even if he was “ignorant

of their precise identities.” Id. Several examples of evidence to that effect can be found in the

sealed report submitted by Ms. Vo in support of her motion. [ECF No. 79]. That report also



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contains evidence contradicting her assertion that Mr. Sestak was blind to Ms. Vo’s involvement.

[ECF No. 79 at 5]. As detailed in this Court’s previous opinion explaining the denial of pretrial

release, the government has also proffered substantial evidence that Ms. Vo “had the specific

intent to further the common unlawful objective” of the conspiracy. Tarantino, 846 F.3d at 1392;

[ECF No. 68 at 4-7]. Moreover, even if the statements cited by Ms. Vo were enough to disprove

her involvement in the conspiracy, she has been charged with thirteen counts each of bribery and

visa fraud. The government need not establish that Ms. Vo was a member of the charged

conspiracy to prove the elements of those serious offenses.

       Ms. Vo also argues that the arrest of her brother Binh Vo (another co-defendant)

demonstrates that she could not successfully evade capture if she was released. But as this Court

previously found, Ms. Vo has access to substantial assets overseas, lengthy experience living

abroad, foreign language skills, and contacts in Vietnam. Even if Vietnam extradited Binh Vo to

the United States, the lack of an extradition treaty between Vietnam and the United States injects

uncertainty into any future extraditions. Mr. Vo also evaded capture for several months. Thus,

Binh Vo’s arrest does not significantly affect this Court’s previous finding that Ms. Vo’s history

and characteristics favor pretrial detention.

       Because Ms. Vo has not presented any information—let alone any new information—

altering the weight of the evidence against her, and because Binh Vo’s arrest does not

significantly alter the Court’s previous finding that Ms. Vo’s history and characteristics favor

pretrial detention, the Court will deny her motion for reconsideration. Upon consideration of [70]

the defendant’s motion for reconsideration, the government’s opposition, applicable law, and the

entire record herein, it is hereby

       ORDERED that [70] the defendant’s motion is DENIED; and it is further



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       ORDERED that defendant Hong Vo shall continue to be detained pursuant to 18 U.S.C.

§ 3142(e) pending trial.

       SO ORDERED.



                                                                        /s/
                                                                 JOHN D. BATES
                                                               United States District Judge
Dated: October 11, 2013




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